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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 NICOLE DUCHARME                                   *    CIVIL ACTION NO. 18-4484
                                                   *
 VERSUS                                            *
                                                   *    MAGISTRATE JUDGE
 CRESCENT CITY DEJA VU, L.L.C.                     *    JANIS VAN MEERVELD
                                                   *
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 ************************************              *

                               AMENDED SCHEDULING ORDER

       The parties’ Motion to Continue (Rec. Doc. 28) was granted. The following deadlines

supersede those issued in the scheduling order dated August 7, 2018. (Rec. Doc. 18). Any deadlines

not addressed herein remain as originally set.

       Written reports of experts, as defined by Federal Rules of Civil Procedure 26(a)(2)(B), who

may be witnesses for Plaintiffs, fully setting forth all matters about which they will testify and the

basis therefor, shall be obtained and delivered to counsel for Defendants as soon as possible, but

in no event later than February 11, 2019.

       Written reports of experts, as defined by Federal Rules of Civil Procedure 26(a)(2)(B), who

may be witnesses for Defendants, fully setting forth all matters about which they will testify and

the basis therefor, shall be obtained and delivered to counsel for Plaintiff as soon as possible, but

in no event later than March 11, 2019.

       Counsel for the parties shall file in the record and serve upon their opponents a list of all

witnesses who may or will be called to testify at trial and all exhibits which may or will be used at

trial no later than March 11, 2019. The Court will not permit any witness, expert or fact, to testify

or any exhibits to be used unless there has been compliance with this order as it pertains to the

witness and/or exhibits, without an order to do so issued on motion for good cause shown.

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       Depositions for trial use shall be taken and all discovery shall be completed not later than

April 1, 2019.

       All motions other than evidentiary pre-trial motions may be filed as soon as practicable,

but must be filed and served not later than April 2, 2019 and set with a submission date of April

24, 2019. Memoranda in opposition shall be filed on or before April 16, 2019. Reply memoranda,

if any, shall be no more than ten pages and shall be filed by April 19, 2019. Hard copy deposition

transcripts submitted in support of motions are to be double spaced and on single sided pages.

Electronic versions of deposition transcripts shall be in uncompressed format as a searchable PDF.

All attachments submitted in support of motions must be legible.

       In addition, the Court reiterates that Local Rules 56.1 and 56.2 require that every motion

for summary judgment must be accompanied by:

(1)    A separate and concise statement of the material facts which the moving party contends

       present no genuine issue. This statement must be limited to facts only, and is not to include

       any argument.

(2)    A party opposing a motion for summary judgment must specifically respond to each

       statement of fact in the moving party’s statement of material facts by admitting or denying

       each statement. This statement must be limited to facts only, and is not to include any

       argument.

(3)    Any opposition to a motion for summary judgment must also include a separate and concise

       statement of the material facts which the opponent contends present a genuine issue. This

       statement must be limited to facts only, and is not to include any argument.

Additionally, each party shall make specific reference to record evidence supporting its statement

of material facts. Citations to record evidence shall indicate, whenever applicable, an exhibit

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reference, page reference, and record document number reference.             Record evidence not

specifically referred to by the parties may not be considered by the Court. The Court will not

consider motions for summary judgment that do not comply with these Rules.

       Motions in limine regarding the admissibility of expert testimony shall be filed and served

as soon as practicable, but must be filed and served not later than April 9, 2019, and set with a

submission date of not later than April 24, 2019.

       All other motions in limine and memoranda in support shall be filed on or before May 21,

2019 , and oppositions thereto shall be filed on or before May 28, 2019.

       Motions filed in violation of this order will not be considered except with leave of Court

for good cause shown. In addition, the Court reiterates that Local Rule 7.4 requires leave of court

to file a reply to a respondent’s opposition. The Court will not consider any additional responses

after that reply unless good cause is shown.

       Dispositive motions and all motions in limine (expert and otherwise) shall conform to the

requirements found in the Local Rules.

       This case does not involve extensive documentary evidence, depositions or other

discovery. No special discovery limitations beyond those established in the Federal Rules or the

Local Rules of this Court are established.

       A Final Pretrial Conference will be held on May 29, 2019, at 9:00 a.m. Counsel will be

prepared in accordance with the final Pretrial Notice. The pretrial order must be filed by 5:00 p.m.

on a day that allows two full working days prior to the conference, excluding Saturdays, Sundays,

and holidays. The pretrial order submitted to the Court must be double spaced and signed by all

counsel. The parties shall comply with all deadlines stated in the pretrial notice and herein,



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including without limitation, the deadline for filing briefs on objections to exhibits and on

objections to deposition testimony.

        Trial will commence the week beginning Monday, June 10, 2019 at 9:00 a.m. before the

undersigned Magistrate Judge with a jury. Attorneys are instructed to report for trial not later than

30 minutes prior to this time. The starting time on the first day of a jury trial may be delayed or

moved up because of jury pooling. Trial is estimated to last 3 day(s).

        Deadlines, cut-off dates, or other limits fixed herein may be extended only by the Court

upon timely motion filed in compliance with the Local Rules and upon a showing of good cause.

Trial will not be continued, even on joint motion, absent good cause or compelling reason.

Likewise, trial will not be continued because of the unavailability of a witness. Counsel should

anticipate such possibilities and be prepared to present testimony by written deposition, videotaped

deposition, or by stipulation. If, however, a continuance of the trial is granted, deadlines and cut

off dates will be re-set by the Court.

        The pretrial deadlines in this case, as set forth herein and in the pretrial notice, include

the following. Counsel are to consult the pretrial notice for additional detail.

 Plaintiff’s expert reports                     Delivered to defense counsel by February 11, 2019.

 Defendant’s expert reports                     Delivered to plaintiff’s counsel by March 11, 2019.
 Witness and exhibit lists                      Filed and served upon opponents by March 11, 2019.
 Depositions and discovery                      Completed by April 1, 2019.

 Dispositive motions (all motions except        Filed and served no later than April 2, 2019 and set
 evidentiary pre-trial motions)                 for submission on April 24, 2019. Memoranda in
                                                opposition shall be filed on or before April 16, 2019.
                                                Any memoranda in reply shall be no more than ten
                                                pages and shall be filed by April 19, 2019.
                                                See Amended Scheduling Order at p. 2 regarding
                                                the format of depositions.



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Motions in limine regarding the admissibility     Filed and served no later than April 9, 2019
of expert testimony                               (in sufficient time to permit a submission date on or
                                                  before April 24, 2019). Memoranda in opposition
                                                  shall be filed in accordance with the Local Rules.

                                                  See Amended Scheduling Order at p. 2 regarding
                                                  the format of depositions.
Pretrial order                                    Filed by May 23, 2019 at 5:00 p.m.

                                                  Any exhibits to be used solely for impeachment must
                                                  be presented to the Court for in camera review by this
                                                  deadline. See Section IX.10.b of the pretrial notice
Pretrial conference                               May 29, 2019 at 9:00 a.m.

                                                  Attended by lead attorney. (See Local Rule 11.2)
Motions in limine (other than those regarding     Filed and served no later than May 21, 2019 at 5:00
the admissibility of expert testimony) and        p.m.
memoranda in support
Responses to non-expert motions in limine and     Filed and served no later than May 28, 2019 at 5:00
memoranda in support                              p.m.
Final list of witnesses who will be called at trial Filed and served no later than May 31, 2019 at 5:00
                                                    p.m.
Joint statement of the case                       Filed by May 31, 2019 at 5:00 p.m. See pretrial notice
                                                  at p. 8
Joint jury instructions (or if agreement cannot   Filed and emailed to the Court by May 31, 2019 at
be reached, counsel shall provide alternate       5:00 p.m. See pretrial notice at p. 8
versions with respect to any instruction in
dispute, with its reasons for putting forth an
alternative instruction and the law in support
thereof. See pretrial notice at p. 8)
Joint proposed jury verdict form (or if           Filed by May 31, 2019 at 5:00 p.m. See pretrial notice
agreement cannot be reached, separate             at p. 8
proposed jury verdict forms and a joint
memorandum explaining the disagreements
between the parties as to the verdict form).
Proposed special voir dire questions              Filed by May 31, 2019 at 5:00 p.m. See pretrial notice
                                                  at p. 8




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 Objections to exhibits and supporting               Filed by May 31, 2019 at 5:00 p.m. See pretrial notice
 memoranda                                           at p. 5

 Note: Each objection must identify the relevant
 objected-to exhibit by the number assigned to
 the exhibit in the joint bench book(s). See
 pretrial notice at p. 5.
 Two copies of joint bench book(s) of tabbed         Delivered to the Court by May 31, 2019 at 5:00 p.m.
 exhibits, with indices of "objected-to" and         See pretrial notice at pp. 5-6
 "unobjected-to" exhibits, identifying which
 party will offer each exhibit and which witness
 will testify regarding the exhibit at trial
 Trial memoranda                                     Filed by May 31, 2019 at 5:00 p.m. See pretrial notice
                                                     at pp. 8-9
 Objections to deposition testimony and              Filed by May 31, 2019 at 5:00 p.m. See pretrial notice
 supporting memoranda                                at p. 6 with particular attention to instructions
                                                     regarding the format of depositions
 Responses to objections to exhibits                 Filed by June 4, 2019 at 5:00 p.m. See pretrial notice
                                                     at p. 5
 Responses to objections to deposition               Filed by June 4, 2019 at 5:00 p.m. See pretrial notice
 testimony                                           at p. 6.
 If counsel intends to ask questions on cross-       The factual elements of such questions shall be
 examination of an economic expert which             submitted to the expert witness by June 4, 2019 at
 require mathematical calculations                   5:00 p.m. See pretrial notice at p. 7.
 List and brief description of any charts, graphs,   Provided to opposing counsel by June 4, 2019 at
 models, schematic diagrams, and similar             5:00 p.m. See pretrial notice at p. 6.
 objects intended to be used in opening
 statements or closing arguments
 Objections to any charts, graphs, models,           Filed by June 5, 2019 at 5:00 p.m. See pretrial notice
 schematic diagrams, and similar objects             at p. 6.
 intended to be used by opposing counsel in
 opening statements or closing arguments
 Jury trial                                          June 10, 2019 at 9:00 a.m.
                                                     (estimated to last 3 days)

        If needed during trials, counsel are invited to use the Michaelle Pitard Wynne Attorney

Conference Center located in Room B-245 on the second floor of the Hale Boggs Federal Building

near the crossover to the Courthouse. The space features three private conference rooms, a lounge,

and a computer workroom with internet, copy, fax and print services. Details and information on

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these services including conference room reservations can be found at http://nofba.org or by

contacting Amanda Kaiser, Executive Director at 504-589-7990/fbaneworleans@gmail.com.

       New Orleans, Louisiana, this 23rd day of January, 2019.



                                                      Janis van Meerveld
                                                  United States Magistrate Judge




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